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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                   Case No.: 16-20897-CR-SEITZ

  UNITED STATES OF AMERICA

              v.

  PRINCESS CRUISE LINES, LTD.,

        Defendant.
                                           /




      STATUS REPORT BY PRINCESS CRUISE LINES, LTD. TO BE CONSIDERED
              DURING STATUS CONFERENCE ON JANUARY 8, 2020




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         Defendant, Princess Cruise Lines, Ltd. (“Princess”), the wholly owned subsidiary of

  Carnival Corporation & plc (“Carnival”) (collectively referred to herein as the “Company”),

  respectfully submits this status report in advance of the status conference scheduled for January

  8, 2020. In addition to the narrative provided in this report, attached as Exhibit A is the

  Company’s quarterly tracking chart summarizing the status of corrective and preventive actions

  taken in response to final audit findings by the Third Party Auditor (the “TPA”) and various

  other incidents.

         The Company does not wish to repeat at length topics that it discussed with the Court

  during the recent workshop on December 19, and there have been few new developments since

  that date. This status report, therefore, provides a brief summary of the Company’s efforts to

  restructure its Ethics & Compliance Department and to improve its management of food waste,

  which the Company is required to summarize each quarter pursuant to the agreement resolving

  Princess’s probation violations. The final section of the status report provides an update on the

  Company’s coordination with the Government about the submission of a set of environmental

  metrics, which the Court previously requested.

         I.      Restructuring of Ethics and Compliance Department

         The Company has continued to restructure its Ethics & Compliance Department since the

  last court status conference on October 2, and the Chief Ethics & Compliance Officer will

  explain these developments in greater detail at the continuation of the workshop scheduled for

  the beginning of the upcoming status conference.        The Company’s efforts have included

  messages from leadership that highlight the importance of the recent changes. The Boards of

  Directors of Carnival Corporation and Carnival plc published a statement on October 9

  highlighting their commitment to environmental compliance. On that same day, the Chief Ethics

  & Compliance Officer issued an announcement summarizing the recent changes to the Ethics &
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  Compliance Department, identifying the newly-appointed leaders within the department, and

  explaining their roles. Both statements were distributed to employees on both ship and shore

  through various channels of communication.

         As part of their renewed commitment to compliance, Board members will attend

  compliance training sessions during a retreat in January 2020. These sessions will bring them up

  to speed on the recent changes to the Company’s Ethics & Compliance Department, review

  pertinent Department of Justice guidance about effective compliance programs, and describe the

  role that boards of directors can play in strengthening a company’s culture.

         The Company also created a financial plan for the Ethics & Compliance Department for

  fiscal year 2020, which it finalized in December and shared with the Interested Parties, Court

  Appointed Monitor (“CAM”), and TPA. The Company as a whole has allocated $63.4 million to

  spending on Ethics & Compliance functions in fiscal year 2020, and almost half of that amount

  ($30 million) is allocated to environmental compliance. This represents an increase in overall

  compliance spending of approximately $18.8 million as compared to fiscal year 2019, which

  includes a $2.4 million increase in spending on environmental compliance.

         The Company similarly intends to increase its staffing for Ethics & Compliance functions

  by 39 full-time employee equivalents (“FTEs”) between fiscal years 2019 and 2020, which will

  result in 161 Ethics & Compliance FTEs in 2020. Approximately one-third of those employees

  (53 FTEs) will be dedicated to environmental compliance, which would represent a 13-FTE

  increase since fiscal year 2019. Many of these Ethics & Compliance positions remain to be

  filled, and not all of the additional FTEs in fiscal year 2020 represent newly-hired employees.

  However, the positions that are not new hires reflect employees whose responsibilities have been

  redirected to the Company’s Ethics & Compliance function.



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         The Company took specific steps during the most recent quarter to improve its Incident

  Analysis Group (the “IAG”), which is a part of the Ethics & Compliance Department and

  conducts major investigations involving Health, the Environment, Safety, and Security. In

  November, the IAG’s core team of investigators attended a training session about causal analysis

  conducted by a consultant, MTO Safety.        This training will be adapted to be delivered

  throughout 2020 at the Company’s training headquarters, CSMART, to shipboard officers who

  will assist IAG investigators with their investigations.    In December, the Company made

  available a computer-based training created in consultation with the University of West Florida

  to shore-side and onboard employees who will investigate lower-severity incidents not

  investigated by the IAG.

         II.    Food Waste Management

         The Company has completed its “Food Waste Shuffle” music video competition, which it

  created to heighten awareness among crew members of the Company’s increased attention to

  properly sorting and disposing of food waste. Participation levels exceeded the Company’s

  expectations: employees from ship and shore submitted more than 70 entries, some of which

  featured virtually the entire crew. The CEO, Environmental Corporate Compliance Manager,

  and others selected the winning videos, and the winning ships will receive prizes, including a

  cash contribution to the crew welfare fund for the first-place video. The Company is working to

  translate the heightened awareness and positive sentiment created by the video competition into

  meaningful change for how food waste is handled.

         The Company has been working to make specific changes to food waste management

  recommended by the Tiger Teams that visited ships to examine food waste issues in the summer

  of 2019. These changes included promulgating a new procedure in October that will hopefully

  improve the ease with which crew members can segregate food waste at its source.            The
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  Environmental Corporate Compliance Manager has added two members to his team who

  specialize in food, beverage, and hotel functions to oversee the implementation of the

  recommendations made by the Tiger Teams.

          The Environmental Corporate Compliance Manager has been overseeing the testing of

  various different models of food waste digesters to replace the pulper systems that most ships

  currently use to dispose of food waste. The digesters will make easier the separation of food

  from non-food waste because they will process food waste into a more environmentally-friendly

  effluent and leave non-food waste un-digested and easily removable. The Company provided the

  Interested Parties, CAM, and TPA with a report from an outside consultant on October 31, which

  concluded that installing food waste digesters would be an effective means to improve the

  Company’s management of food waste. Once the Company determines the best model(s) of

  digesters to use, it will install them across the fleet.

          The Company has retained Lloyd’s Register to review its food waste management

  process for potential staffing improvements to make in addition to the procedural and technical

  changes already described. The team from Lloyd’s Register has begun visiting ships and will

  produce a report with its staffing recommendations by April 2020.

          Finally, the Company also has taken significant steps to reduce the amount of single-use

  plastics across the fleet, in order to comply with its goal of reducing these items by 50% by the

  end of 2021. To achieve this goal, the Company prioritized removing from its procurement

  process items that could most easily be eliminated and removed the vast majority of these items

  from its ships by the end of October. The Company has now turned its focus to eliminating

  single-use plastic items that are more difficult to replace. Overall, as of the end of November,

  the Company has reduced its single-use plastics by 34% as compared to 2018, and it has reduced



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  by 29% other single-use, non-food items such as sugar, sweetener, and butter packets. The

  Company will continue its efforts to reduce these items and to reduce its total volume of food

  waste in 2020 and beyond.

         III.   Environmental Metrics

         The CAM’s quarterly report notes that the Company and the Government have continued

  to work towards a set of environmental metrics that they can jointly propose to the Court. The

  Company provided the Government with an updated metrics proposal on November 2, 2019,

  after conferring with the CAM. The Company and the Government had an extensive phone call

  to discuss the proposal. The Company sent the Government, CAM, and TPA an updated

  proposal on November 22, 2019, that was designed to reflect that discussion and awaits final

  confirmation from the Government and the CAM before making a joint submission to the Court.

         Dated: December 31, 2019
         Miami, Florida


                                             Respectfully submitted,

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